Case 8:23-mc-00014-WFJ-SPF Document 22 Filed 05/30/23 Page 1 of 6 PageID 90




                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

TIMES PUBLISHING COMPANY
                                               Case No.: 8:23-mc-00014-WFJ-SPF
v.

UNITED STATES OF AMERICA
_________________________________/

                   TIMES PUBLISHING COMPANY’S REPLY

      Pursuant to the Court’s Order (Doc. No. 21), Times Publishing Company

(“The Times”) files this Reply to the Government’s Response (Doc. No. 17). The

only remaining issue is the unsealing of the probable cause affidavit.

      The Court, at a minimum, should unseal a redacted version of the affidavit

because: (1) the search has generated even greater public concern since the filing

of the Motion (Doc. No. 1); (2) the Government has merely offered conclusory

assertions insufficient to justify a continued sealing, hence failing to carry its

burden to overcome The Times’ presumption of access; and (3) as information has

become public, sealing can no longer be justified.

      I.      The Search is of National Public Concern.

      The search of the home of well-known journalist Timothy Burke and

Councilwoman Lynn Hurtak has generated national media coverage, contrary to

the Government’s bald assertion that “the search at issue has generated only

limited publicity.” (Doc. No. 17 at n. 3). But see (Doc. No. 1 at n. 1).
Case 8:23-mc-00014-WFJ-SPF Document 22 Filed 05/30/23 Page 2 of 6 PageID 91




       As revealed on May 26, 2023, the search relates to an investigation of alleged

computer intrusions and intercepted communications at Fox News Network

involving the leaked videos published by Media Matters for America and Vice

News.1      Further, in a letter sent by the Government to Fox News Network, the

assigned Assistant U.S. Attorney in this matter identified Fox Corporation as “one

of the potential victim-witnesses of the alleged criminal conduct under

investigation.”2

       This latest revelation has generated a swath of national and internal news

coverage, with multiple news outlets confirming they obtained copies of the

Government’s letter to Fox Corporation.3 These revelations further enhance the

newsworthiness and public concern surrounding this search.



1 See Tucker Carlson, Fox News hacks tied to FBI search of Tampa council member’s home, Tampa Bay

Times, May 26, 2023, available at:
https://www.tampabay.com/news/tampa/2023/05/26/tucker-carlson-fox-news-hacks-tied-
fbi-search-tampa-council-members-home/. See U.S. ex rel. Osheroff v. Humana, Inc., 776 F.3d 805,
811 n.4 (11th Cir. 2015) (noting the Court may take judicial notice of newspaper articles for the
purpose of noting statements within those articles).
2 Justice Department opens criminal hacking probe into leaked Tucker Carlson videos, May 26, 2023,

CNN, available at: https://www.cnn.com/2023/05/26/media/tucker-carlson-doj-criminal-
hacking-probe/index.html.
3 See, e.g., Report: The FBI search of Lynn Hurtak’s home is tied to Tucker Carlson, Fox News hacks,

Florida Politics, May 26, 2023, available at: https://floridapolitics.com/archives/614926-report-
the-fbi-search-of-lynn-hurtaks-home-is-tied-to-tucker-carlson-fox-news-hacks/; FBI Raid of
Tampa Journalist Connected to Tucker Carlson Leaked Clips, May 27, 2023, Vanity Fair, available at:
https://www.vanityfair.com/news/2023/05/tucker-carlson-leaks-fbi-investigation-tampa-
journalist; FBI Raid on Journo’s Home Reportedly Related to Embarrassing Tucker Carlson Vids, May
27, 2023, Daily Best, available at: https://www.thedailybeast.com/raid-on-journalist-tim-burkes-
home-related-to-tucker-carlson-videos-report; FBI probes 'hack' of Fox News computers which saw
unaired footage from Tucker Carlson's interview with Kanye West leaked to Vice: Florida media
consultant's home is searched as part of investigation, May 26, 2023, The Daily Mail, available at:

                                                 2
Case 8:23-mc-00014-WFJ-SPF Document 22 Filed 05/30/23 Page 3 of 6 PageID 92




      II.    Government Fails to Justify a Complete Sealing of the Affidavit.

      It is the Government’s burden to overcome the presumptive right of public

access to judicial records by articulating a specific, compelling interest justifying

an ongoing seal that is no broader than necessary to serve that interest. See (Doc.

No. 18 at 3-4).

      The Government’s Response failed to provide any specificity to justify the

continued sealing, rather relying on nonspecific language, such as the affidavit

must remain sealed to protect and safeguard an ongoing investigation and to

protect the privacy of third-party witnesses and victims. (Doc. No. 17 at 3, 6-8).

      Such generalities fall well below the high standard required. Rather, to

justify sealing the affidavit, the Government needed to describe in considerable

detail the nature, scope and direction of the government’s investigation and the

individuals and specific projects involved. See (Doc. No. 1 at 9 (collecting cases)).

      Moreover, sealing cannot be justified when names within the affidavit have

become public. For example, Fox Corporation, Vice News, and Media Matters

have all been mentioned in news coverage. See, supra at n. 3; see also Newman v.

Graddick, 696 F.2d 796, 803 (11th Cir. 1983) (in deciding whether sealing is

appropriate, court must consider “whether the press has already been permitted




https://www.dailymail.co.uk/news/article-12129235/FBI-probes-hack-Fox-News-computers-
theft-unaired-footage.html.

                                          3
Case 8:23-mc-00014-WFJ-SPF Document 22 Filed 05/30/23 Page 4 of 6 PageID 93




substantial access to the contents of the records”); Wash. Post v. Robinson, 935 F.2d

282, 291-92 (D.C. Cir. 1991) (stating sealing not justified when same information

had already been published in news reports). To the extent that the probable cause

affidavit contains any of this information, or other details about the investigation

already reported in the press, there is no compelling interest in maintaining it

under seal.

      Even if the Government could show a compelling interest, less intrusive

alternatives to sealing must be considered, such as redaction. See Newman, 696 F.2d

at 802. Already public portions of the affidavit, for example, should be made

public even if the Court finds a compelling interest for maintaining other discrete

portions under seal. The Government paints with too broad of a brush by claiming

that there is no possible way to redact any portion without the risk of revealing

the identify of a witness. (Doc. No. 17 at 8); see In re Four Search Warrants, 945 F.

Supp. 1563, 1568 (N.D. Ga. 1996) (releasing redacted search warrant affidavits

where “much of the information” they contained had “already been made widely

available to the public” through news reports).

      At a minimum, under these circumstances, the Court should release a

redacted affidavit, following the recent approach of a sister court when dealing

with a highly publicized search warrant. See In re: Sealed Search Warrant, Case No.

22-8332-BER, Slip Op. at 1 (ECF Nos. 74 & 80) (S.D. Fla. Aug. 18 and Aug. 22 and


                                          4
Case 8:23-mc-00014-WFJ-SPF Document 22 Filed 05/30/23 Page 5 of 6 PageID 94




Aug. 25, 2022) (ordering unsealing of redacted affidavit); In re: Sealed Search

Warrant, Case No. 22-8332-BER, Slip Op. at 13 (ECF Nos. 80, 94) (S.D. Fla. Aug. 22,

2022) (ordering unsealing of redacted affidavit).

      In addition, any proposed redactions should be narrow, and the

Government must explain to the Court why each redaction is necessary to mitigate

harms to the integrity of the investigation. Further, only those redactions

determined to meet a compelling need articulated by the Government after the

Court conducts an in camera review can be justified. See, e.g., U.S. v. Vives, 2006 U.S.

Dist. LEXIS 92973, at *5 (S.D. Fla. Dec. 21, 2006).

      At bottom, the complete closure of a court record based on generalities

undermines the public’s right to access court records and its ability to be informed,

particularly when a journalist’s home is searched by the FBI in relation to an

investigation involving high-profile media entities, like Fox News.

      III.   Conclusion

      Based on the foregoing and its previous Motion (Doc. No. 1), The Times

respectfully requests the unsealing of the probable cause affidavit at issue.

Dated: May 30, 2023                     Respectfully submitted,

                                        THOMAS & LOCICERO PL

                                        /s/ Jon M. Philipson
                                        Carol Jean LoCicero (FBN 603030)
                                        Jon M. Philipson (FBN 92960)
                                        601 South Boulevard
                                           5
Case 8:23-mc-00014-WFJ-SPF Document 22 Filed 05/30/23 Page 6 of 6 PageID 95




                                      Tampa, FL 33606
                                      Telephone: (813) 984-3060
                                      Facsimile: (813) 984-3070
                                      clocicero@tlolawfirm.com
                                      jphilipson@tlolawfirm.com
                                      tgilley@tlolawfirm.com

                                    Attorneys for Times Publishing Company


                          CERTIFICATE OF SERVICE

     I hereby certify that on May 30, 2023, a true and correct copy of the foregoing
document is being electronically filed and will be furnished via CM/ECF to:

      Jay Trezevant, Esq.
      U.S. Attorney’s Office
      Middle District of Florida
      Tampa Division
      400 North Tampa Street
      Suite 3200
      Tampa, FL 33602
      jay.trezevant@usdoj.gov


                                             /s/ Jon M. Philipson
                                             Jon M. Philipson




                                         6
